Case 2:23-cv-00521-JRG-RSP            Document 108          Filed 06/02/25     Page 1 of 5 PageID #:
                                             5207



                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


     BARCO, INC. and BARCO NV,  §
                                §
               Plaintiffs,      §
                                §
     v.                         §                       Civil Action No. 2:23-cv-00521-JRG-RSP
                                §
     YEALINK (USA) NETWORK      §
     TECHNOLOGY CO., LTD., and  §
     YEALINK NETWORK TECHNOLOGY §
     CO., LTD.                  §
                                §
                Defendants.     §


                      THIRD AMENDED DOCKET CONTROL ORDER

           In accordance with the Unopposed Motion Amend (Dkt. No. 107), it is hereby ORDERED

 that the following schedule of deadlines is in effect until further order of this Court:


     ORIGINAL         AMENDED             EVENT
     DATE             DATE

     September 8,     No change           *Jury Selection – 9:00 a.m. in Marshall, Texas
     2025

     7 days before    No change           *Defendant to disclose final invalidity theories, final
     Jury Selection                       prior art references/combinations, and final equitable
                                          defenses.1




 1
  The proposed DCO shall include this specific deadline. The deadline shall read, “7 days before
 Jury Selection,” and shall not include a specific date.



                                                  -1-
Case 2:23-cv-00521-JRG-RSP            Document 108        Filed 06/02/25      Page 2 of 5 PageID #:
                                             5208



     10 days before   No change          *Plaintiff to disclose final election of Asserted Claims.2
     Jury Selection

     August 11, 2025 No change           * If a juror questionnaire is to be used, an editable (in
                                         Microsoft Word format) questionnaire shall be jointly
                                         submitted to the Deputy Clerk in Charge by this date.3

     August 4, 2025   No change          *Pretrial Conference – 9:00 a.m. in Marshall, Texas
                                         before Judge Roy Payne

     July 28, 2025    No change          *Notify Court of Agreements Reached During Meet and
                                         Confer

                                         The parties are ordered to meet and confer on any
                                         outstanding objections or motions in limine. The parties
                                         shall advise the Court of any agreements reached no later
                                         than 1:00 p.m. three (3) business days before the pretrial
                                         conference.

     July 28, 2025    No change          *File Joint Pretrial Order, Joint Proposed Jury
                                         Instructions, Joint Proposed Verdict Form, Responses to
                                         Motions in Limine, Updated Exhibit Lists, Updated
                                         Witness Lists, and Updated Deposition Designations

     July 21, 2025    No change          *File Notice of Request for Daily Transcript or Real
                                         Time Reporting.

                                         If a daily transcript or real time reporting of court
                                         proceedings is requested for trial, the party or parties
                                         making said request shall file a notice with the Court and
                                         e-mail the Court Reporter, Shawn McRoberts, at
                                         shawn_mcroberts@txed.uscourts.gov.




 2
  Given the Court’s past experiences with litigants dropping claims and defenses during or on the
 eve of trial, the Court is of the opinion that these additional deadlines are necessary. The proposed
 DCO shall include this specific deadline. The deadline shall read, “10 days before Jury Selection,”
 and shall not include a specific date.
 3
  The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in
 Advance of Voir Dire.


                                                 -2-
Case 2:23-cv-00521-JRG-RSP         Document 108      Filed 06/02/25      Page 3 of 5 PageID #:
                                          5209



  July 15, 2025    No change         File Motions in Limine

                                     The parties shall limit their motions in limine to issues that
                                     if improperly introduced at trial would be so prejudicial that
                                     the Court could not alleviate the prejudice by giving
                                     appropriate instructions to the jury.

  July 15, 2025    No change         Serve Objections to Rebuttal Pretrial Disclosures

  July 8, 2025     No change         Serve Objections to Pretrial Disclosures; and Serve Rebuttal
                                     Pretrial Disclosures

  June 23, 2025    No change         Serve Pretrial Disclosures (Witness List, Deposition
                                     Designations, and Exhibit List) by the Party with the Burden
                                     of Proof

  June 16, 2025    July 1, 2025      *Response to Dispositive Motions (including Daubert
                                     Motions). Responses to dispositive motions that were filed p
                                     rior to the dispositive motion deadline, including Daubert
                                     Motions, shall be due in accordance with Local Rule CV-7(e),
                                     not to exceed the deadline as set forth in this Docket Control
                                     Order. Motions for Summary Judgment shall comply with
                                     Local Rule CV-56.

  June 2, 2025     June 17, 2025     *File Motions to Strike Expert Testimony (including
                                     Daubert Motions)

                                     No motion to strike expert testimony (including a
                                     Daubert motion) may be filed after this date without
                                     leave of the Court.

  June 2, 2025    June 17, 2025      *File Dispositive Motions

                                     No dispositive motion may be filed after this date without
                                     leave of the Court.

                                     Motions shall comply with Local Rule CV-56 and Local Rule
                                     CV-7. Motions to extend page limits will only be granted in
                                     exceptional circumstances. Exceptional circumstances require
                                     more than agreement among the parties.


  May 23, 2025     No change         Deadline to Complete Expert Discovery




                                            -3-
Case 2:23-cv-00521-JRG-RSP            Document 108         Filed 06/02/25      Page 4 of 5 PageID #:
                                             5210



 (*) indicates a deadline that cannot be changed without an acceptable showing of good
 cause. Good cause is not shown merely by indicating that the parties agree that the
 deadline should be changed.

                                ADDITIONAL REQUIREMENTS

         Mediation: While certain cases may benefit from mediation, such may not be appropriate
 for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
 benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
 ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
 mediation within fourteen days of the issuance of the Court’s claim construction order. As a part
 of such Joint Notice, the Parties should indicate whether they have a mutually agreeable mediator
 for the Court to consider. If the Parties disagree about whether mediation is appropriate, the Parties
 should set forth a brief statement of their competing positions in the Joint Notice.

         Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert M
 otions: For each motion, the moving party shall provide the Court with two (2) hard copies of
 the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
 exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
 must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
 business days after briefing has completed. For expert-related motions, complete digital copies of
 the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
 to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
 than the dispositive motion deadline.

         Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
 include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
 the local rules’ normal page limits.

        Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
 “[o]n the first appearance through counsel, each party shall designate a lead attorney on the
 pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
 changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court
 an Order granting leave to designate different lead counsel. The true lead counsel should be
 designated early and should not expect to parachute in as lead once the case has been largely
 developed.

          Motions for Continuance: The following will not warrant a continuance nor justify a
 failure to comply with the discovery deadline:

 (a)    The fact that there are motions for summary judgment or motions to dismiss pending;

 (b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
        unless the other setting was made prior to the date of this order or was made as a special
        provision for the parties in the other case;



                                                  -4-
Case 2:23-cv-00521-JRG-RSP             Document 108          Filed 06/02/25       Page 5 of 5 PageID #:
                                              5211




 (c)     The failure to complete discovery prior to trial, unless the parties can demonstrate that it
         was impossible to complete discovery despite their good faith effort to do so.

        Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
 the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
 include a proposed order that lists all of the remaining dates in one column (as above) and the
 proposed changes to each date in an additional adjacent column (if there is no change for a date
 the proposed date column should remain blank or indicate that it is unchanged). In other words,
 the DCO in the proposed order should be complete such that one can clearly see all the remaining
 deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
 version of the DCO.

        Proposed DCO: The Parties’ Proposed DCO should also follow the format described
 above under “Amendments to the Docket Control Order (‘DCO’).”

          Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
 the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff
 shall also specify the nature of each theory of infringement, including under which subsections of
 35
  . U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
 infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of each
 theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,
 written description, enablement, or any other basis for invalidity. The Defendant shall also specify
 each prior art reference or combination of references upon which the Defendant shall rely at trial,
 with respect to each theory of invalidity. Other than as set forth in the above deadlines, the
 contentions of the Parties may not be amended, supplemented, or dropped without leave of the
 Court based upon a showing of good cause. The Parties in a case which has been consolidated for
 pre-trial purposes and which is moving towards a separate trial on the merits (subsequent to pretrial)
 shall file, as an exhibit to the parties’ Joint Pretrial Order, a list identifying all docket entries from
 the lead case that relate to the applicable member case.

         Trial: All parties must appear in person at trial. All non-individual (including but not
 limited to corporate) parties must appear at trial through the presence in person of a designated
 representative. Once they have appeared, any representative of a non-individual party shall not be
 replaced or substituted without express leave of Court.
          SIGNED this 3rd day of January, 2012.
          SIGNED this 1st day of June, 2025.




                                                          ____________________________________
                                                          ROY S. PAYNE
                                                          UNITED STATES MAGISTRATE JUDGE




                                                   -5-
